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 11                          UNITED STATES DISTRICT COURT
 12                       SOUTHERN DISTRICT OF CALIFORNIA
 13
      JAMES MILLER; RYAN PETERSON;                          Case No.: 3:22-cv-01446-BEN-JLB
 14   GUNFIGHTER TACTICAL, LLC;
      JOHN PHILLIPS; PWGG, L.P.; SAN
 15   DIEGO COUNTY GUN OWNERS                               PLAINTIFFS’ MEMORANDUM OF
      PAC; CALIFORNIA GUN RIGHTS                            POINTS AND AUTHORITIES IN
 16   FOUNDATION; SECOND                                    SUPPORT OF MOTION FOR
      AMENDMENT FOUNDATION;                                 PRELIMINARY INJUNCTION
 17   FIREARMS POLICY COALITION,
      INC.; JOHN W. DILLON; DILLON                          Date: November 14, 2022
 18   LAW GROUP, P.C.; and GEORGE M.                        Time: 10:30 a.m.
      LEE,                                                  Courtroom 5A (5th Floor)
 19                                                         Hon. Roger T. Benitez
                          Plaintiffs,
 20
            v.
 21
      ROB BONTA, Attorney General of
 22   California; and LUIS LOPEZ, Director
      of the California Department of Justice
 23   Bureau of Firearms,
 24                       Defendants.
 25
 26
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 28
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  1                                      I. INTRODUCTION
  2          Plaintiffs bring this motion to enjoin the enforcement of a recently enacted
  3   California law that is designed to deter individuals and groups from bringing civil
  4   rights litigation and that has already had that effect on Plaintiffs. On July 22, 2022,
  5   Governor Newsom signed into law Senate Bill 1327, which includes a one-way fee-
  6   shifting penalty in the government’s favor that applies only to litigation challenging
  7   state and local firearm regulations. 2022 Cal. Stat. ch. 146, § 2 (adding Code Civ.
  8   Proc. § 1021.11(a)). In simple terms, Section 1021.11 enables government defendants
  9   to recover their attorney’s fees and costs if a firearms plaintiff loses on any claim in
 10   the case, while the plaintiff can only avoid liability for fees if it prevails on every claim
 11   in the case. Section 1021.11’s definitions, moreover, provide that firearms plaintiffs
 12   cannot be “prevailing parties” under Section 1021.11, meaning only the government
 13   can recover fees. Emphasizing the goal of deterring litigation, Section 1021.11 also
 14   targets attorneys who bring such suits and their law firms: they are jointly and
 15   severally liable for the government’s fees along with plaintiffs if the court dismisses
 16   any claim in the suit for any reason.
 17          Section 1021.11 will take effect on January 1, 2023, absent judicial
 18   intervention. This Court should enjoin Section 1021.11’s enforcement because the law
 19   is unconstitutional in multiple respects.
 20          First, Section 1021.11 is unconstitutional under the Supremacy Clause. The fee-
 21   shifting provision is preempted by Congress’s statutory scheme to enforce federal
 22   constitutional rights, including 42 U.S.C. §§ 1983 and 1988, which generally awards
 23   fees to civil-rights plaintiffs who prevail on any substantial issue in a case challenging
 24   unconstitutional state action. Section 1021.11 upends this scheme by, among other
 25   things, automatically allowing state and local defendants to recover fees if plaintiffs
 26   fail to prevail on every claim and thereby removing the incentive that § 1988 creates
 27   to bring such claims. And Section 1021.11 purports to award these fees even in a case
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  1   where a federal court holds that Section 1021.11 itself is unconstitutional. The
  2   Supremacy Cause bars this resistance to federal authority.
  3         Second, Section 1021.11 violates the First Amendment rights of petition and
  4   expression. The right to petition the government for redress of grievances includes
  5   “[t]he right of access to the courts,” which “is indeed but one aspect of the right of
  6   petition.” Cal. Motor Trans. Co. v. Trucking Unlimited, 404 U.S. 508, 510 (1972).
  7   The Supreme Court has long held that public interest litigation is a protected “form of
  8   political expression” that is essential to secure civil liberties, particularly for groups
  9   seeking to vindicate politically unpopular rights: “Groups which find themselves
 10   unable to achieve their objectives through the ballot frequently turn to the courts. . . .
 11   [U]nder the conditions of modern government, litigation may well be the sole
 12   practicable avenue open to a minority to petition for redress of grievances.” Nat’l
 13   Ass’n for Advancement of Colored People v. Button, 371 U.S. 415, 429–30 (1963).
 14         Plaintiffs in this case—individual litigants, public interest organizations, and
 15   the lawyers and law firms who represent them in a long-running Second Amendment
 16   case, Miller v. Bonta, S.D. Cal. Case No. 3:19-cv-01537-BEN-JLB (“Miller I”)—have
 17   asserted their constitutional rights in litigation by challenging a state law restricting
 18   their right to possess certain firearms. By doing so, they are now at risk of potentially
 19   ruinous fee liability under Section 1021.11. Section 1021.11 thus strikes at the
 20   “fundamental” First Amendment right of “collective activity undertaken to obtain
 21   meaningful access to the courts.” In re Primus, 436 U.S. 412, 426 (1978) (citation
 22   omitted). “The Constitution does not permit” California to “insulate [its] interpretation
 23   of the Constitution from judicial challenge” through such regulatory barriers. Legal
 24   Services Corp. v. Velazquez, 531 U.S. 533, 548–49 (2001).
 25         Section 1021.11’s fee-shifting regime also violates the First Amendment
 26   because it is content-based and viewpoint-discriminatory: It singles out firearms
 27   advocates’ protected activity and seeks to choke off their access to the courts. The
 28   State cannot justify such targeting under strict scrutiny.
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   1         And third, Section 1021.11’s discrimination against gun-rights plaintiffs
   2   violates the Equal Protection Clause because it draws classifications with respect to
   3   the fundamental right to petition and, to make matters worse, that classification singles
   4   out the fundamental right to keep and bear arms.
   5         The remaining preliminary injunction factors are satisfied. The Ninth Circuit
   6   has recognized time and again that constitutional deprivations “unquestionably”
   7   constitute irreparable harm. Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012).
   8   And the balance of equities and public interest favor injunctive relief where, as here,
   9   a state statute violates federal law. Arizona Dream Act Coal. v. Brewer, 757 F.3d 1053,
  10   1069 (9th Cir. 2014). The balance tips even more sharply in Plaintiffs’ favor given the
  11   significant First Amendment interests at stake. Am. Bev. Ass’n v. City & Cty. of San
  12   Francisco, 916 F.3d 749, 758 (9th Cir. 2019).
  13         Because this case presents only questions of law, there is no need for discovery
  14   or further development of the case. And for the reasons shown herein, Plaintiffs thus
  15   request that this Court grant this motion, consolidate the preliminary injunction
  16   hearing with the trial on the merits under Fed. R. Civ. P. 65(a)(2), and issue an order
  17   that declares unconstitutional and restrains Defendants from enforcing Section
  18   1021.11 before it takes effect on January 1, 2023.
  19                                II. BACKGROUND
  20   A.    Section 1021.11 Creates A State-Law Fee-Shifting Regime, Applicable
             Only To Firearms Litigation, Designed To Suppress Such Cases And
  21         Insulate Firearms Regulations From Judicial Review.
  22         Senate Bill 1327, including Section 1021.11, is based almost word-for-word on
  23   a Texas law (SB 8), enacted in 2021 in the abortion context. Defendant Bonta has
  24   described SB 8 as “blatantly unconstitutional.” Press Release, Cal. Dep’t of Just., Att’y
  25   Gen. Bonta: Texas Cannot Avoid Judicial Review of Its Unconstitutional Abortion
  26   Ban (Oct. 27, 2021), https://bit.ly/3pRWA4F. Yet the laws work the same way, the
  27   main difference being that SB 8 is openly designed to limit abortions and litigation
  28   over abortion regulations, whereas SB 1327 seeks to limit the constitutional right to
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   1   possess firearms and litigation over regulations infringing on that right. Like Texas’s
   2   SB 8, SB 1327 has two basic components: (1) it deputizes private parties to enforce
   3   certain California gun laws (and makes those parties eligible for fee awards if they
   4   prevail); and (2) as reflected in Section 1021.11, it makes parties who challenge
   5   California gun laws liable for the government defendants’ attorney’s fees if those
   6   parties fail to achieve complete victory on every claim.
   7         In an amicus brief filed on behalf of the challengers when SB 8 was before the
   8   Supreme Court, California (along with other States) highlighted the law’s “one-sided
   9   attorney’s fees provisions that award attorney’s fees and costs to any plaintiff who
  10   prevails [in exercising the law’s private enforcement mechanism] while statutorily
  11   barring [abortion] providers from recovering their attorney’s fees and costs even if
  12   they prevail.” Br. of Mass. et al. as Amici Curiae in Supp. of Pet’rs at 21, Whole
  13   Woman’s Health v. Jackson, 142 S. Ct. 522 (2021) (internal citation omitted).
  14   Of course, this criticism of one-way-fee-shifting applies equally to Section 1021.11’s
  15   fee-shifting analogue to SB 8. As SB 8’s challengers elaborated in their own brief,
  16   such one-sided fee shifting “create[s] a heads-I-win-tails-you-lose regime whose
  17   evident purpose is to deter and obstruct access to federal and state court.” Pet’rs Br.
  18   at 10, Jackson, 142 S. Ct. 522.
  19         The Supreme Court did not address the fee-shifting portion of SB 8. But after
  20   the Supreme Court held that the pre-enforcement challenge could proceed “against
  21   some of the named defendants but not others,” 142 S. Ct. at 530, Governor Newsom
  22   dubbed the opinion “outrageous” and “an abomination” because it did not prevent
  23   enforcement of SB 8. Gavin Newsom, The Supreme Court Opened the Door to Legal
  24   Vigilantism in Texas. California Will Use the Same Tool To Save Lives., WASH. POST
  25   (Dec. 20, 2021), https://wapo.st/3wxWoeI. At the same time, Governor Newsom also
  26   called on the California legislature to pursue exactly the same course as Texas by
  27   copying SB 8 in the bill that became SB 1327. See id.
  28         This case does not challenge SB 1327’s private attorney general features.
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   1   Rather, it challenges SB 1327’s radical effort to suppress firearms-related litigation
   2   by putting civil rights litigants and their attorneys on the hook for the government’s
   3   attorney’s fees if a case results in anything short of victory on every claim alleged in
   4   a complaint. As codified in Section 1021.11, the bill provides, in relevant part:
   5           Notwithstanding any other law, any person, including an entity, attorney,
               or law firm, who seeks declaratory or injunctive relief to prevent this
   6           state, a political subdivision, a governmental entity or public official in
               this state, or a person in this state from enforcing any statute, ordinance,
   7           rule, regulation, or any other type of law that regulates or restricts
               firearms, or that represents any litigant seeking that relief, is jointly and
   8           severally liable to pay the attorney’s fees and costs of the prevailing
               party.
   9
  10   2022 Cal. Stat. ch. 146, § 2 (adding Code Civ. Proc. § 1021.11(a)).
  11           Unlike other “fee shifting” statutes, however, Section 1021.11 specifies that a
  12   “prevailing party” cannot be a plaintiff who brings a case seeking declaratory or
  13   injunctive relief against a state or local firearm regulation. Code Civ. Proc.
  14   § 1021.11(e). And it says that government defendants in a firearms case will be treated
  15   as a “prevailing party” if the court either “[d]ismisses any claim or cause of action” in
  16   the case, “regardless of the reason for the dismissal,” or “[e]nters judgment in favor
  17   of the [government] party” “on any claim or cause of action.” Code Civ. Proc.
  18   § 1021.11(b)(1), (2) (emphasis added). In simple terms, then, Section 1021.11 would
  19   enable government defendants to recover their attorney’s fees and costs if a firearms
  20   plaintiff loses on any claim in the case, while the plaintiff (and his own attorneys and
  21   their law firms) can avoid liability for fees only if they prevail on every claim in the
  22   case.
  23           In fact, Section 1021.11 would make a plaintiff liable for the government’s fees
  24   even if the plaintiff obtained all the relief sought in the litigation. For example,
  25   Plaintiff Firearms Policy Coalition recently secured a victory in the Northern District
  26   of Texas on a claim that Texas’s law making it illegal for 18-to-20-year-olds to carry
  27   firearms in public is unconstitutional. See Amended Final Judgment, FPC v. McCraw,
  28   No. 4:21-cv-1245 (N.D. Tex. Aug. 29, 2022), ECF No. 76. Because FPC won on this
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   1   broad claim, the court dismissed as moot an alternative, narrower claim that the law
   2   was unconstitutional as applied to women. Id. In the upside-down world of SB 1327,
   3   the defendants in McCraw would be considered “prevailing” parties entitled to fees
   4   even though the plaintiffs secured all the relief they sought.
   5          Section 1021.11(c) further gives these “prevailing party” government
   6   defendants a three-year window to bring a state law action to recover their fees,
   7   notwithstanding that the vast majority of firearms litigation, like this case, is brought
   8   under 42 U.S.C. § 1983, and notwithstanding that federal law already addresses the
   9   treatment of attorney’s fees in those cases. See 42 U.S.C. § 1988(b) (providing that
  10   “prevailing part[ies]” in federal civil rights actions may recover “a reasonable
  11   attorney’s fee as part of [their] costs” in the action itself). Section 1021.11 also
  12   purports to insulate itself from review in the underlying action, awarding fees even if
  13   “[t]he court in the underlying action [holds] that any provision of this section is
  14   invalid, unconstitutional, or preempted by federal law, notwithstanding the doctrines
  15   of issue or claim preclusion.” Code Civ. Proc. § 1021.11(d)(3).
  16
       B.     Section 1021.11’s Fee-Shifting Regime Has Already Infringed On
  17          Plaintiffs’ Constitutional Rights.
  18          Plaintiffs are litigants, lawyers, and law firms in Miller I, a long-running Second
  19   Amendment challenge to California’s ban on so-called “assault weapons” through the
  20   state’s Assault Weapons Control Act.1 In August 2021, this Court held the assault
  21   weapons ban unconstitutional. Miller v. Bonta, 542 F.Supp.3d 1009 (S.D. Cal. 2021).
  22   After the Supreme Court issued its decision in New York State Rifle & Pistol Ass’n v.
  23   Bruen, 142 S. Ct. 2111 (2022), the Ninth Circuit vacated the judgment and remanded
  24
       1
  25          Specifically, Plaintiffs Miller; Peterson; Gunfighter Tactical, LLC; John
       Phillips; PWGG, L.P.; San Diego County Gun Owners PAC; California Gun Rights
  26   Foundation; Firearms Policy Coalition, Inc.; and Second Amendment Foundation are
       plaintiffs in Miller I. Plaintiffs Dillon; Dillon Law Group, A.P.C.; and Lee are lawyers
  27   and law firms litigating the case. Plaintiffs’ capacities in Miller I are subject to judicial
       notice. Fed. R. Evid. 201; see United States v. Wilson, 631 F.2d 118, 119 (9th Cir.
  28   1980) (court may take judicial notice of its own records in other cases).
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   1   the case for further consideration. The Attorney General has refused to take a position
   2   on whether it will seek to enforce the fee-shifting statute in relation to Miller I. Lee
   3   Decl., ¶¶ 4–5. As a result, Section 1021.11, forces Plaintiffs to continue litigating their
   4   assault-weapons challenge under the threat of a potentially ruinous fee award. Id.
   5         Section 1021.11 has also chilled Plaintiffs’ exercise of First Amendment rights
   6   by preventing them from bringing or continuing to prosecute civil rights cases against
   7   California firearm regulations beyond Miller I. Plaintiffs FPC, Lee, and Dillon have
   8   prepared new challenges to California’s gun-control laws that they believe are
   9   inconsistent with the text of the Second and Fourteenth Amendments, as well as the
  10   Supreme Court’s precedents, including New York State Rifle and Pistol Ass’n v.
  11   Bruen, 142 S. Ct. 2111. Some of those challenges have been fully prepared for filing,
  12   including the retention of counsel and parties who have signed representation
  13   agreements with counsel. However, because of the threat of enforcement of SB 1327’s
  14   fee-shifting penalty, Plaintiffs have refrained from filing those new challenges. Combs
  15   Decl., ¶¶ 7, 15, 20–27; Lee Decl., ¶ 3; Dillon Decl., ¶ 3; Phillips Decl., ¶ 6; Peterson
  16   Decl., ¶ 6; Schwartz Decl., ¶ 6. Section 1021.11 has likewise forced Plaintiff SAF to
  17   refrain from challenging California gun-control laws that it believes are
  18   unconstitutional, including by forcing Plaintiff SAF to remove itself from litigation
  19   that had already commenced. Gottlieb Decl., ¶ 8.
  20         Due to these injuries, Plaintiffs filed this suit on September 26, 2022, and now
  21   seek an order preliminarily enjoining Defendants from enforcing Section 1021.11.
  22                                        III. ARGUMENT
  23         “A plaintiff seeking a preliminary injunction must establish that he is likely to
  24   succeed on the merits, that he is likely to suffer irreparable harm in the absence of
  25   preliminary relief, that the balance of equities tips in his favor, and that an injunction
  26   is in the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20
  27   (2008). A plaintiff must “make a showing on all four prongs” of the Winter test to
  28   obtain a preliminary injunction, but a court may employ a “sliding scale” approach in
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   1   weighing the four factors. Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127,
   2   1134–35 (9th Cir. 2011). “So, when the balance of hardships tips sharply in the
   3   plaintiff’s favor, the plaintiff need demonstrate only ‘serious questions going to the
   4   merits.’” hiQ Labs, Inc. v. LinkedIn Corp., 31 F.4th 1180, 1188 (9th Cir. 2022)
   5   (citation omitted).
   6         This pre-enforcement challenge and the requested injunction are appropriate
   7   because Plaintiffs have demonstrated, through the ongoing litigation in Miller I and
   8   their preparation to bring additional legal challenges to state and local firearms
   9   regulations, that they are engaging in conduct within Section 1021.11’s reach and that
  10   their rights have been chilled by the statute. Italian Colors Rest. v. Becerra, 878 F.3d
  11   1165, 1171–73 (9th Cir. 2018). “The unique standing considerations in the First
  12   Amendment context,” where “the Supreme Court has dispensed with rigid standing
  13   requirements” and where chilled conduct is “a constitutionally sufficient injury,” “tilt
  14   dramatically” in favor of pre-enforcement standing. Tingley v. Ferguson, 47 F.4th
  15   1055, 1066–67 (9th Cir. 2022) (cleaned up).
  16
       A.    Plaintiffs Will Prevail On The Merits Because Section 1021.11 Is
  17         Unconstitutional In Multiple Respects.
             1.    Section 1021.11 Is Preempted By The Congressional Scheme
  18               Promoting Private Enforcement Of Civil Rights.
  19         The Supremacy Clause provides that federal law “shall be the supreme Law of
  20   the Land.” U.S. CONST. Art. VI, Cl. 2. “Consistent with that command, [the Supreme
  21   Court has] long recognized that state laws that conflict with federal law are ‘without
  22   effect.’” Altria Grp., Inc. v. Good, 555 U.S. 70, 76 (2008) (citation omitted). To that
  23   end, “state law is naturally preempted to the extent of any conflict with a federal
  24   statute,” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000), and
  25   “[w]here state and federal law ‘directly conflict,’ state law must give way.” PLIVA,
  26   Inc. v. Mensing, 564 U.S. 604, 617 (2011) (citation omitted); see also Gade v. Nat’l
  27   Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 108 (1992) (“[U]nder the Supremacy Clause
  28   . . . ‘any state law, however clearly within a State’s acknowledged power, which
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   1   interferes with or is contrary to federal law, must yield.’” (citation omitted)).
   2         Section 1021.11’s attempt to shift the government’s fees onto the shoulders of
   3   civil rights plaintiffs conflicts with the text and structure of Section 1988, and it
   4   strongly undermines Section 1988’s purposes. Section 1988 provides that, in federal
   5   civil rights litigation brought under 42 U.S.C. § 1983, such as Miller I, the court “may
   6   allow the prevailing party, other than the United States, a reasonable attorney’s fee as
   7   part of the costs” of the case. 42 U.S.C. § 1988(b). Whereas Section 1021.11 favors
   8   defendants, Section 1988 favors plaintiffs. “[A] prevailing plaintiff ‘should ordinarily
   9   recover an attorney’s fee unless special circumstances would render such an award
  10   unjust.’” Hensley v. Eckerhart, 461 U.S. 424, 429 (1983) (emphasis added and citation
  11   omitted). By contrast, the Supreme Court has repeatedly held that, given the purposes
  12   of Section 1988, prevailing defendants may recover fees only “where the suit was
  13   vexatious, frivolous, or brought to harass or embarrass the defendant.” Id. at 429 n.2
  14   (citations omitted); see Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 422
  15   (1978) (under analogous fee award language in Title VII, establishing standard that
  16   “a plaintiff should not be assessed his opponent’s attorney’s fees unless a court finds
  17   that his claim was frivolous, unreasonable, or groundless”).
  18         Section 1988 does not require a plaintiff to win every claim in order to be a
  19   “prevailing party.” Relying on congressional guidance, the Supreme Court has “made
  20   clear that plaintiffs may receive fees under [Section] 1988 even if they are not
  21   victorious on every claim. A civil rights plaintiff who obtains meaningful relief has
  22   corrected a violation of federal law and, in so doing, has vindicated Congress’s
  23   statutory purposes.” Fox v. Vice, 563 U.S. 826, 834 (2011); see Texas State Teachers
  24   Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 793 (1989) (Section 1988 fees are
  25   appropriate if a party has “prevailed on a significant issue in the litigation and have
  26   obtained some of the relief they sought”).
  27         Under Section 1021.11(e), however, only government defendants can be
  28   “prevailing parties.” And because a government defendant qualifies as a “prevailing
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   1   party” under Section 1021.11 if the plaintiff loses on any claims—even if the plaintiff
   2   “loses” only as a technical matter, such as where a claim is dismissed as moot because
   3   the plaintiff has prevailed on another, broader claim—the government would be
   4   entitled to fees even where it has been found to violate the Constitution on other claims
   5   in the case. In other words, Section 1021.11 flips Section 1988, putting government
   6   defendants in a similar if not better position than plaintiffs under Section 1988.
   7         Section 1021.11 thus directly conflicts with Section 1988 by establishing a
   8   wholly separate and contradictory state law fee regime. Indeed, Section 1021.11
   9   asserts reverse supremacy over federal law, pronouncing that government officials
  10   may plow ahead with enforcing the fee-shifting penalty against a Section 1983
  11   plaintiff with a state court collection action after “[t]he court in the underlying action,”
  12   even a federal court, holds “that any provision of this section is invalid,
  13   unconstitutional, or preempted by federal law, notwithstanding the doctrines of issue
  14   or claim preclusion.” Code Civ. Proc. § 1021.11(d)(3) (emphasis added).
  15         Section 1021.11 also undermines the manifest purpose of Section 1988. Shortly
  16   after the Civil Rights Act’s passage, the Supreme Court recognized the link between
  17   fee-shifting and effective enforcement of civil rights laws:
  18         When the Civil Rights Act of 1964 was passed, it was evident that
             enforcement would prove difficult and that the Nation would have to rely
  19         in part upon private litigation as a means of securing broad compliance
             with the law. . . . If successful plaintiffs were routinely forced to bear
  20         their own attorneys’ fees, few aggrieved parties would be in a position to
             advance the public interest by invoking the injunctive powers of the
  21         federal courts. Congress therefore enacted the provision for counsel fees
             . . . to encourage individuals injured by racial discrimination to seek
  22         judicial relief[.]
  23   Newman v. Piggie Park Enters., Inc., 390 U.S. 400, 401–02 (1968). When enacting
  24   Section 1988, Congress affirmed that the fee-shifting provision plays a central role in
  25   enforcing the nation’s civil rights laws by encouraging private action. The Senate
  26   Report explained:
  27         All of these civil rights laws depend heavily upon private enforcement,
             and fee awards have proved an essential remedy if private citizens are to
  28         have a meaningful opportunity to vindicate the important Congressional
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             policies which these laws contain. [¶] In many cases arising under our
   1         civil rights laws, the citizen who must sue to enforce the law has little or
             no money with which to hire a lawyer. If private citizens are to be able
   2         to assert their civil rights, and if those who violate the Nation’s
             fundamental law are not to proceed with impunity, then citizens must
   3         have the opportunity to recover what it costs them to vindicate these
             rights in court.
   4
   5   S. Rep. No. 94-1011 at 2 (June 29, 1976). Prevailing-party “fee awards . . . are
   6   necessary if citizens are to be able to effectively secure compliance with these [civil
   7   rights] statutes[.]” Id. at 6. “If the cost of private enforcement actions becomes too
   8   great, there will be no private enforcement. If our civil rights laws are not to become
   9   mere hollow pronouncements which the average citizen cannot enforce, we must
  10   maintain the traditionally effective remedy of fee shifting in these cases.” Id. To that
  11   end, the House Report noted that, in contrast to private civil rights plaintiffs,
  12   “governmental entities and officials have substantial resources available to them,”
  13   such that awarding prevailing defendants their fees “would further widen the gap
  14   between citizens and government officials and would exacerbate the inequality of
  15   litigating strength.” H.R. Rep. No. 94-1558 at 7 (Sept. 15, 1976).
  16         In short, “[t]he purpose of [Section] 1988 is to ensure ‘effective access to the
  17   judicial process’ for persons with civil rights grievances.” Hensley, 461 U.S. at 429
  18   (quoting H.R. Rep. No. 94–1558 at 1); see also City of Riverside v. Rivera, 477 U.S.
  19   561, 576 (1986) (“Congress enacted [Section] 1988 specifically because it found that
  20   the private market for legal services failed to provide many victims of civil rights
  21   violations with effective access to the judicial process.”); Kay v. Ehrler, 499 U.S. 432,
  22   436 (1991) (one specific purpose of Section 1988 is “to enable potential plaintiffs to
  23   obtain the assistance of competent counsel in vindicating their rights”). The statute is
  24   “a powerful weapon” for “victims of civil rights violations,” which “improves their
  25   ability to employ counsel, to obtain access to the courts, and thereafter to vindicate
  26   their rights[.]” Evans v. Jeff D., 475 U.S. 717, 741 (1986).
  27         In direct conflict with Section 1988’s purpose, Section 1021.11 threatens to
  28   bankrupt any plaintiff who seeks to vindicate civil rights against a state or local
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   1   firearm regulation. This heavy-handed deterrent to asserting civil rights claims is a
   2   direct obstacle to Congress’s express intent, embodied in Section 1988, to encourage
   3   civil rights litigation. It is no answer that recoveries under Section 1021.11 and Section
   4   1988(b) could potentially offset—for example, if a plaintiff prevailed on a significant
   5   issue, and was therefore entitled to fees under Section 1988(b), but did not prevail on
   6   every issue and was therefore liable for fees under Section 1021.11. Even assuming
   7   the “reasonable” fees for the plaintiff authorized by Section 1988(b) match the
   8   automatic Section 1021.11 fees for defendants, the plaintiff will still have ended up
   9   paying for attorneys, in this case the government’s. That remains a practical obstacle
  10   to filing a civil rights claim and thus to the accomplishment of Section 1988(b)’s goals.
  11         Section 1021.11 is a modern-day twist on a prior attempt by the California
  12   Legislature to obstruct Section 1988’s operation. In Spain v. Mountanos, 690 F.2d 742
  13   (9th Cir. 1982), California lost a Section 1983 case over prison conditions and settled
  14   the attorney fee issue for $70,000. The Legislature, however, refused to appropriate
  15   the money to pay the fees. The State attempted to defy a district court order to pay the
  16   fees by saying it could not, under California law, spend money that wasn’t
  17   appropriated. Id. at 744–45. The Ninth Circuit rejected this argument and observed
  18   that “a state cannot frustrate the intent of section 1988 by setting up state law barriers
  19   to block enforcement of an attorney’s fees award.” Id. at 746; see id. (a state cannot
  20   “by legislative action” “recloak itself with the Eleventh Amendment immunity which
  21   Congress has chosen to remove,” because “[s]uch a result would be contrary to the
  22   Supremacy Clause of the United States Constitution”) (citation omitted).
  23         Similarly instructive is Virginia’s failed effort to set up an alternative fee regime
  24   in conflict with the Americans with Disabilities Act. In Brinn v. Tidewater Transp.
  25   Dist. Comm’n, 242 F.3d 227, 233–34 (4th Cir. 2001), the district court awarded fees
  26   to plaintiffs under Section 505 of the ADA, 42 U.S.C. § 12205. The defendant
  27   (Tidewater Transportation District) argued that, under Virginia law, the plaintiffs were
  28   not entitled to recover fees because they were represented by a state agency set up to
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   1   advocate for disabled persons. The Fourth Circuit rejected this argument on
   2   Supremacy Clause grounds with reasoning that applies here:
   3         With the passage of § 505 of the ADA . . . Congress plainly intended to
             give federal courts discretion to award attorney’s fees in ADA . . . actions
   4         where appropriate; to adopt Tidewater's argument, would be to permit a
             state statute to limit that grant of discretion. Put another way, the state
   5         statute would “stand as an obstacle” to Congress’s intent to give federal
             courts discretion to award attorney’s fees to any entity they deem
   6         appropriate, other than the United States.
   7         ...
             To permit states to exempt local governmental entities from liability for
   8         attorney’s fees awarded by a federal court, pursuant to a federal statute,
             would allow a state legislature to override a Congressional enactment. A
   9         state statute that thwarts a federal court order enforcing federal rights
             “cannot survive the command of the Supremacy Clause.”
  10
  11   Id. at 233-34 (citation and footnote omitted). By creating a state-court re-do of the
  12   Section 1988 attorney fee questions in firearms cases, Section 1021.11 likewise
  13   attempts to “override” Section 1988 and district court decisions under it.
  14         Because Section 1021.11 “stands as an obstacle to the accomplishment and
  15   execution of the full purposes and objective of Congress,” Crosby, 530 U.S. at 373
  16   (internal quotation marks omitted), California’s law “must give way,” PLIVA, Inc.,
  17   564 U.S. at 617.
  18
             2.     Section 1021.11’s Fee-Shifting Regime Violates The First
  19                Amendment.
  20         Not all challenges to firearms regulations are brought under Section 1983,
  21   however. It is therefore important for the Court to rule that California’s effort to
  22   insulate its laws from attack—by deterring firearms plaintiffs and their lawyers from
  23   bringing claims for fear of ruinous liability—also violates the First Amendment.
  24
                    a.       Section 1021.11 Unduly Burdens The First Amendment Right
  25                         To Access The Courts To Assert Civil Rights Claims.
  26         The right of access to courts is “essential to freedom,” Borough of Duryea v.
  27   Guarnieri, 564 U.S. 379, 382 (2011), and “is subsumed under the first amendment
  28   right to petition the government for redress of grievances.” Soranno’s Gasco, Inc. v.
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   1   Morgan, 874 F.2d 1310, 1314 (9th Cir. 1989). The Supreme Court has recognized the
   2   central role the First Amendment plays in securing access to the courts to preserve
   3   civil rights, particularly for groups unable to protect their rights through the political
   4   channels. “Groups which find themselves unable to achieve their objectives through
   5   the ballot frequently turn to the courts. . . . [U]nder the conditions of modern
   6   government, litigation may well be the sole practicable avenue open to a minority to
   7   petition for redress of grievances.” Button, 371 U.S. at 429–30. Such is the case here,
   8   where Plaintiffs seek to assert their constitutional rights in litigation against state and
   9   local governments that disfavor Second Amendment rights.
  10         This is not the first time a state has erected statutory barriers to deter disfavored
  11   civil rights litigation. In NAACP v. Button, 371 U.S. 415 (1963), the Supreme Court
  12   struck down Virginia’s ban on “improper solicitation” of legal business that Virginia
  13   used to target the NAACP’s efforts to bring civil rights cases. Id. at 425–26. The
  14   Button Court highlighted the danger posed by regulations designed to impair citizens’
  15   ability to bring civil rights litigation: First Amendment “freedoms are delicate and
  16   vulnerable, as well as supremely precious in our society. The threat of sanctions may
  17   deter their exercise almost as potently as the actual application of sanctions.” Id. at
  18   433. Where a “statute lends itself to selective enforcement against unpopular causes,”
  19   “a statute broadly curtailing group activity leading to litigation may easily become a
  20   weapon of oppression . . . . Its mere existence could well freeze out of existence” the
  21   targeted civil litigation. Id. at 435–36. And here, the statute does not just “lend itself”
  22   to selective enforcement. Whereas Virginia enacted generally applicable regulations
  23   on the solicitation of legal business but applied them selectively against the NAACP,
  24   id. at 423–25, Section 1021.11 targets firearms litigants right on the face of the law.
  25         The Supreme Court similarly struck down South Carolina’s efforts to punish
  26   the ACLU’s counsel in In re Primus, 436 U.S. 412 (1978), where the state used a rule
  27   prohibiting solicitation of prospective litigants to target a lawyer who offered free
  28   representation to a woman who had been forcibly sterilized. Id. at 416–17. Relying on
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   1   Button, the Court explained that where a state seeks “to regulate expressive and
   2   associational conduct at the core of the First Amendment’s protective ambit,” the state
   3   “‘may regulate in the area only with narrow specificity.’” Id. at 424 (quoting Button).
   4   As with the NAACP in Button, for the ACLU, “‘litigation is not a technique of
   5   resolving private differences’; it is ‘a form of political expression’ and ‘political
   6   association.’” Id. at 428. The Court then held that South Carolina’s statute failed to
   7   satisfy the “exacting scrutiny” demanded when the government infringes “core First
   8   Amendment rights,” id. at 432, because the disciplinary rule was overbroad and
   9   unjustified by the state’s professed regulatory interests. Id. at 432–38.
  10         Louisiana adopted a scheme similar to SB 1327 in the wake of Brown v. Board
  11   of Education. The Louisiana law made plaintiffs suing state officials liable for the
  12   government defendants’ fees if they lost, but not vice versa, and it required plaintiffs
  13   to post a bond for those fees before proceeding. Detraz v. Fontana, 416 So.2d 1291,
  14   1293 (La. 1982). The Louisiana Supreme Court noted the state’s purpose of resisting
  15   Brown and maintaining segregation “by making it extremely costly, if not prohibitive,
  16   for minority groups or individuals to bring suit against any public official . . . for the
  17   redress of grievances suffered because of race.” Id. at 1293–94. The court held that
  18   the law violated the Equal Protection Clause and the Due Process Clause, and it
  19   unconstitutionally denied open access to the courts. Id. at 1295–97.
  20         Since Button, the Supreme Court has consistently enjoined state action that
  21   imposes barriers on litigation that may chill protected activity. See, e.g., Bhd. of R. R.
  22   Trainmen v. Virginia ex rel. Va. State Bar, 377 U.S. 1, 7 (1964) (a state cannot
  23   “handicap[]” “the right to petition the court” through indirect regulation that
  24   “infringe[s] in any way the right of individuals and the public to be fairly represented
  25   in lawsuits authorized by Congress to effectuate a basic public interest”); United Mine
  26   Workers of Am., Dist. 12 v. Illinois State Bar Ass’n, 389 U.S. 217, 222–23 (1967) (the
  27   state cannot “erode [the First Amendment’s] guarantees by indirect restraints” on
  28   citizens’ ability to assert their legal rights); United Transp. Union v. State Bar of
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   1   Mich., 401 U.S. 576, 580–81, 585–86 (1971) (“the First Amendment forbids . . .
   2   restraints” that effectively prevent groups from “unit[ing] to assert their legal rights,”
   3   and striking down regulation that denied “meaningful access to the courts”).
   4          So too here. Section 1021.11’s obvious and impermissible purpose is to give
   5   state and local governments in California a free hand to regulate firearms by scaring
   6   away parties who may bring litigation over firearm regulations. Because “[t]he
   7   Constitution does not permit” California to “insulate [its] interpretation of the
   8   Constitution from judicial challenge,” courts “must be vigilant when [the government]
   9   imposes rules and conditions which in effect insulate its own laws from legitimate
  10   judicial challenge.” Legal Services Corp. v. Velazquez, 531 U.S. 533, 548 (2001).
  11   Indeed, the Supreme Court’s observations regarding the impact of the law in Button
  12   are just as applicable to Section 1021.11: California has taken aim at those seeking to
  13   vindicate an “unpopular cause[]” by using a fee-shifting penalty as “a weapon of
  14   oppression” to “freeze out of existence” firearms-rights litigation. Button, 371 U.S. at
  15   435–36; see also, In re Workers Comp. Refund, 842 F. Supp. 1211, 1218–19 (D. Minn.
  16   1994) (requiring challengers of statute to pay state’s attorney fees “impermissibly
  17   burden[ed their] First Amendment right of access to the courts;” noting “[t]he
  18   legislature may not financially hobble an opponent to protect its enactment.”), aff’d
  19   46 F.3d 813, 822 (8th Cir. 1995).
  20          Section 1021.11 imposes potential fee liability on, and only on, parties and their
  21   attorneys who bring declaratory and injunctive claims against firearm regulations—in
  22   other words, only upon those who disagree with the State or its subdivisions that the
  23   Second Amendment permits those regulations. It is designed to stifle particular
  24   constitutional claims, and the law’s in terrorem effect is already impacting potential
  25   litigation. And even if a plaintiff were willing to risk bankruptcy itself, it will have a
  26   difficult time finding counsel willing to subject themselves to possible joint and
  27   several fee liability.
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   1         As a further disincentive, Section 1021.11 also conflicts with counsel’s duty of
   2   zealous advocacy, which often requires asserting alternative claims that are
   3   “reasonable” even “if not ultimately successful,” and which each carry a potential for
   4   fee liability under Section 1021.11. Fox, 563 U.S. at 834. Faced with a new incursion
   5   on the Second Amendment, therefore, the only way for plaintiffs and their counsel to
   6   avoid this potential liability (aside from not challenging the regulation at all) would
   7   be to seek only damages and, if they prevail, repeatedly seek damages against every
   8   successive enforcement action, a strategy that is itself cost-prohibitive for most
   9   litigants. Of course, where the merits are not already clear under existing law,
  10   qualified immunity likely will foreclose a claim for damages in cases against state
  11   officials, making that avenue for relief largely illusory as well.
  12         Although Section 1021.11 does not expressly prohibit suits, its prohibitory
  13   “effect” is itself a First Amendment violation. Velazquez, 531 U.S. at 548; Button, 371
  14   U.S. at 433. Indeed, “[t]he First Amendment would . . . be a hollow promise if it left
  15   government free to destroy or erode its guarantees by indirect restraints so long as no
  16   law is passed that prohibits free speech, press, petition, or assembly as such.” United
  17   Mine Workers of Am., 389 U.S. at 222. California’s own caselaw recognizes “the
  18   disastrous effect of closing the courtroom door to plaintiffs who have meritorious
  19   claims but who dare not risk the financial ruin caused by an award of attorney fees if
  20   they ultimately do not succeed.” Rosenman v. Christensen, Miller, Fink, Jacobs,
  21   Glaser, Weil & Shapiro, 91 Cal. App. 4th 859, 874 (2001).
  22         In short, “collective activity undertaken to obtain meaningful access to the
  23   courts is a fundamental right within the protection of the First Amendment.” In re
  24   Primus, 436 U.S. at 426 (internal quotation marks omitted). And as Plaintiffs’ own
  25   experiences demonstrate, Section 1021.11 prevents that activity from occurring. This
  26   violates the First Amendment. See Velazquez, 531 U.S. at 548–49.
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                    b.       Section 1021.11’s Fee-Shifting Regime Further Violates The
   1                         First Amendment Because It Is Content-Based And
                             Viewpoint-Discriminatory.
   2
   3         Section 1021.11 is no ordinary fee-shifting statute. It imposes a unique burden
   4   on, and only on, those who seek to vindicate their civil rights through firearms
   5   litigation, favoring all other constitutional and statutory civil rights claims. “[A]ll
   6   citizens, regardless of the content of their ideas, have the right to petition their
   7   government.” City of Cuyahoga Falls, Ohio v. Buckeye Cmty. Hope Found., 538 U.S.
   8   188, 196 (2003) (upholding city’s use of referendum to repeal housing ordinance, and
   9   observing that the city’s procedures “advanc[ed] significant First Amendment
  10   interests” by furthering public debate). Yet Section 1021.11 disfavors the expressive
  11   activity of litigants who bring certain petitions based exclusively on the content and
  12   viewpoint of those petitions.
  13         Laws that impose special burdens on disfavored speech and single out
  14   disfavored speakers are constitutionally suspect. Sorrell v. IMS Health Inc., 564 U.S.
  15   552, 564–66 (2011). States are not permitted to advance their policy goals “through
  16   the indirect means of restraining certain speech by certain speakers,” id. at 577, and
  17   “may not burden the speech of others in order to tilt public debate in a preferred
  18   direction.” Id. at 578–79. Indeed, “the First Amendment is plainly offended” when the
  19   government “attempt[s] to give one side of a debatable public question an advantage
  20   in expressing its views to the people.” First Nat’l Bank of Bos. v. Bellotti, 435 U.S.
  21   765, 785–86 (1978). Because California has “target[ed] . . . particular views taken by
  22   speakers on a subject” of public importance and based the fee provisions of SB 1327
  23   on the “motivating ideology . . . of the speaker,” “the violation of the First Amendment
  24   is . . . blatant.” Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819,
  25   829 (1995). California has used its legislative power to suppress firearms advocates’
  26   access to the courts, and its law must therefore satisfy strict scrutiny. See, e.g., Reed
  27   v. Town of Gilbert, 576 U.S. 155, 164 (2015).
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   1         Section 1021.11 cannot withstand strict scrutiny. It is impossible to imagine any
   2   interest the government could assert as compelling, or even permissible, in support of
   3   this statute. Punishing Second Amendment litigants in retaliation against Texas for
   4   enacting its own abortion restrictions in SB 8 is plainly illegitimate. There is also no
   5   compelling interest for targeting a particular type of civil rights litigant for
   6   unfavorable treatment when exercising the fundamental right to assert constitutional
   7   claims. But even if the State could somehow identify a compelling interest supporting
   8   the statute, Section 1021.11 is not narrowly tailored: there are less restrictive
   9   alternatives that would serve such an interest without imposing such severe burdens
  10   on core protected rights. See United States v. Playboy Entm’t. Grp., Inc., 529 U.S.
  11   803, 813 (2000). For example, if the State had a need (though it has not claimed one)
  12   for additional resources to defend firearm regulations, it could enact a general tax.
  13   Even under intermediate scrutiny, the State must at least show that it seriously
  14   considered these less-restrictive alternatives. See McCullen v. Coakley, 573 U.S. 464,
  15   494 (2014). Simply opting to pursue such interests (even if they were proper) by
  16   attempting to insulate all gun laws from legal challenge is illegitimate.
  17         Although strict scrutiny should apply to Section 1021.11, Section 1021.11 is
  18   not even rationally related to any legitimate government interest and therefore would
  19   fail even rational basis review. As noted above, SB 1327 was apparently adopted in
  20   retaliation for Texas’s SB 8 in connection with abortion statutes. Retaliation is not a
  21   rational or permissible justification for the classifications in this case. “[I]f the
  22   constitutional conception of ‘equal protection of the laws’ means anything, it must at
  23   the very least mean that a bare congressional desire to harm a politically unpopular
  24   group cannot constitute a legitimate governmental interest.” U.S.D.A. v. Moreno, 413
  25   U.S. 528, 534 (1973) (striking down statutory classification designed to discriminate
  26   against “hippies” and those who lived in “hippie communes”); accord City of
  27   Cleburne v. Cleburne Living Center, Inc., 473 U.S. 432, 447, 450 (1985) (striking
  28   down a permitting law that “appear[ed] . . . to rest on an irrational prejudice against”
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   1   individuals with mental illness); Rinaldi v. Yeager, 384 U.S. 305, 308–11 (1966)
   2   (striking down state statute that only demanded reimbursement of appellate transcript
   3   costs from unsuccessful appellants who were imprisoned); Lawrence v. Texas, 539
   4   U.S. 558, 580 (2003) (O’Connor, J., concurring) (“[S]ome objectives, such as ‘a bare
   5   . . . desire to harm a politically unpopular group,’ are not legitimate state interests.”).
   6                c.       Section 1021.11 Has No Historical Analogue.
   7         The Supreme Court has recently emphasized that First Amendment claims, like
   8   Second Amendment claims, must be analyzed by reference to the Nation’s history and
   9   tradition of regulating speech. See, e.g., Kennedy v. Bremerton Sch. Dist., 142 S. Ct.
  10   2407, 2428 (2022) (Establishment Clause analysis must be anchored to “historical
  11   practices and understandings”); New York State Rifle & Pistol Ass’n, Inc. v. Bruen,
  12   142 S. Ct. 2111, 2130 (2022) (“[T]o carry that burden [of proving the constitutionality
  13   of its actions], the government must generally point to historical evidence about the
  14   reach of the First Amendment’s protections.”) (emphasis in original); United States v.
  15   Stevens, 559 U.S. 460, 468–71 (2010) (placing the burden on the government to show
  16   that a type of speech belongs to one of the “historic and traditional categories” of
  17   constitutionally unprotected speech).
  18         But Section 1021.11 has no historic pedigree: It traces its lineage to Texas’s SB
  19   8, which was enacted in 2021. There is no legitimate historical precedent for a fee-
  20   shifting statute that only allows government defendants to recover fees in civil rights
  21   litigation. Section 1021.11 thus falls outside of the history and tradition of the First
  22   Amendment, which further confirms its violation of the First Amendment.
  23
             3.     Section 1021.11’s Fee-Shifting Regime Violates The Equal
  24                Protection Clause.
  25         Section 1021.11’s discrimination against certain exercises of constitutional
  26   rights also violates the Equal Protection Clause. The Fourteenth Amendment forbids
  27   a State from “deny[ing] to any person within its jurisdiction the equal protection of
  28   the laws.” U.S. CONST. amend. XIV, § 1. This clause guarantees the right to freely
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   1   exercise other constitutional rights. Thus, the Supreme Court has held, state laws that
   2   draw “classifications affecting fundamental rights” must be “given the most exacting
   3   scrutiny.” Clark v. Jeter, 486 U.S. 456, 461 (1988).
   4         Section 1021.11 draws such a classification. The provision effectively separates
   5   plaintiffs into two classes: those who “see[k] declaratory or injunctive relief to prevent
   6   th[e] state” or public officials from enforcing any firearm regulation, and all others
   7   who seek declaratory or injunctive relief to prevent the state or public officials from
   8   enforcing any other type of regulation. Code Civ. Proc. § 1021.11(a)). Plaintiffs in the
   9   first group are subject to potential fee liability, and thereby impeded from accessing
  10   the courts as described above, while those in the second are not. In other words,
  11   Section 1021.11 “impinges on [the] fundamental rights” of certain plaintiffs to access
  12   the courts based exclusively on the types of claims they bring. Schweiker v. Wilson,
  13   450 U.S. 221, 230 (1981); see also San Antonio Indep. Sch. Dist. v. Rodriguez, 411
  14   U.S. 1, 17 (1973) (describing fundamental rights as those “explicitly or implicitly
  15   protected by the Constitution”). In this way, Section 1021.11 classifies not only with
  16   respect to the fundamental right to access the courts, but also classifies in a way that
  17   impinges on the fundamental Second Amendment right itself by preventing plaintiffs
  18   from defending that right from regulatory infringement in court. On either basis,
  19   Section 1021.11 is subject to strict scrutiny.
  20         As explained above, Section 1021.11 cannot satisfy strict scrutiny. Indeed, it
  21   lacks even a rational basis. That is particularly pronounced in the context of the Equal
  22   Protection Clause, where California must defend Section 1021.11’s laser-like focus
  23   on plaintiffs challenging firearm restrictions. There certainly is no legitimate reason
  24   for this focus; it either is meant simply to chill Second Amendment lawsuits or to
  25   retaliate politically for Texas’s enactment of S.B. 8 (or both).2 Either way, Section
  26
       2
            In his press conference celebrating the passage of SB 1327, Governor Newsom
  27   emphasized the State’s goal: “We’re sick and tired of being on the defense in this
       movement. It’s time to put them on the defense.” Don Thompson, New California gun
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   1   1021.11’s distinction between plaintiffs lacks a connection to any rational government
   2   interest and is a violation of equal protection.
   3                                            *      *      *
   4         In short, Plaintiffs are likely to succeed in demonstrating that Section 1021.11’s
   5   fee-shifting regime is unconstitutional.
   6   B.    Plaintiffs Will Be Irreparably Harmed Without A Preliminary Injunction.
   7         Plaintiffs are irreparably harmed by Section 1021.11, which imposes a severe
   8   burden on their right of access to the courts and deprives them of the full opportunity
   9   to vindicate their Second Amendment rights. As the Ninth Circuit has repeatedly
  10   emphasized, “[i]t is well established that the deprivation of constitutional rights
  11   ‘unquestionably constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990,
  12   1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); see Roman
  13   Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (per curiam) (“the loss
  14   of First Amendment freedoms, for even minimal periods of time, ‘unquestionably
  15   constitutes irreparable injury.’”). Because “constitutional violations cannot be
  16   adequately remedied through damages [such violations] therefore generally constitute
  17   irreparable harm.” Am. Trucking Ass’ns v. City of Los Angeles, 559 F.3d 1046, 1059
  18   (9th Cir. 2009) (citation omitted).
  19         The constitutional violations have caused concrete harm to Plaintiffs here.
  20   Section 1021.11 has not only imposed a substantial potential cost on Plaintiffs for
  21   litigating Miller I, but it has caused several Plaintiffs to dismiss or refrain from
  22   bringing additional lawsuits challenging other California firearms regulations that
  23   they believe are unconstitutional. Combs Decl., ¶¶ 7, 15, 20–27; Gottlieb Decl., ¶ 8;
  24   Lee Decl., ¶ 3; Dillon Decl., ¶ 3; Phillips Decl., ¶ 6; Peterson Decl., ¶ 6; Schwartz
  25   Decl., ¶ 6. Plaintiffs are thus unable to exercise their First Amendment rights to assert
  26   Second Amendment rights in court, and the Plaintiff attorneys have lost business.
  27
       control law mimics Texas abortion measure, July 22, 2022 (ABC News),
  28   https://abcn.ws/3T486qa.
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   1   These significant and ongoing injuries far exceed the Ninth Circuit’s baseline for
   2   establishing irreparable harm in a constitutional context. See Am. Bev. Ass’n v. City &
   3   Cty. of San Francisco, 916 F.3d 749, 758 (9th Cir. 2019) (“Because Plaintiffs have a
   4   colorable First Amendment claim, they have demonstrated that they likely will suffer
   5   irreparable harm if the Ordinance takes effect.”) (citing Doe v. Harris, 772 F.3d 563,
   6   583 (9th Cir. 2014)); accord Cmty. House, Inc. v. City of Boise, 490 F.3d 1041, 1059
   7   (9th Cir. 2007).
   8   C.    The Balance Of Equities And Public Interest Both Favor Plaintiffs.
   9         When the government is a party, the balance-of-equities and public-interest
  10   factors merge. Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014).
  11   And by establishing a likelihood that California has violated the Constitution,
  12   Plaintiffs have “also established that both the public interest and the balance of the
  13   equities favor a preliminary injunction.” Arizona Dream Act Coal. v. Brewer, 757 F.3d
  14   1053, 1069 (9th Cir. 2014). This is because “it is always in the public interest to
  15   prevent the violation of a party’s constitutional rights.” Melendres, 695 F.3d at 1002
  16   (citation omitted); accord Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005)
  17   (“Generally, public interest concerns are implicated when a constitutional right has
  18   been violated, because all citizens have a stake in upholding the Constitution.”). The
  19   balance tips overwhelmingly in Plaintiffs’ favor given the significant First
  20   Amendment interests at stake. See Am. Bev. Ass’n, 916 F.3d at 758 (“[T]he fact that
  21   [Plaintiffs] have raised serious First Amendment questions compels a finding that . . .
  22   the balance of hardships tips sharply in [Plaintiffs’] favor,” and “we have consistently
  23   recognized the significant public interest in upholding First Amendment principles.”)
  24   (internal quotation marks and citations omitted). Likewise, as the Ninth Circuit has
  25   put it, “it is clear that it would not be equitable or in the public’s interest to allow the
  26   state . . . to violate the requirements of federal law, especially when there are no
  27   adequate remedies available. . . . In such circumstances, the interest of preserving the
  28   Supremacy Clause is paramount.” Cal. Pharmacists Ass’n v. Maxwell-Jolly, 563 F.3d
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   1   847, 853 (9th Cir. 2009), reiterated in United States v. California, 921 F.3d 865, 893–
   2   94 (9th Cir. 2019); see also Am. Trucking Ass’ns, 559 F.3d at 1059–60 (determining
   3   that the balance of equities and the public interest weighed in favor of enjoining a
   4   likely preempted ordinance).
   5          Conversely, the government “cannot suffer harm from an injunction that merely
   6   ends an unlawful practice . . . .” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir.
   7   2013); see also Zepeda v. U.S. I.N.S., 753 F.2d 719, 727 (9th Cir. 1983) (the state
   8   “cannot reasonably assert that it is harmed in any legally cognizable sense by being
   9   enjoined from constitutional violations”). The public interest is unquestionably served
  10   by preserving access to the courts for all Californians who seek to vindicate their
  11   constitutional rights, rather than by permitting California to insulate certain laws from
  12   judicial scrutiny.
  13   D.     The Court Should Waive Bond Or Require Only Nominal Security.
  14          Because the State will not suffer monetary hardship and this mater involves a
  15   constitutional violation and the public interest, the Court should either waive Rule
  16   65(c)’s bond requirement or impose only a nominal bond. See, e.g., Barahona-Gomez
  17   v. Reno, 167 F.3d 1228, 1237 (9th Cir. 1999) (district court has “discretion as to the
  18   amount of security required, if any”); Save Our Sonoran, Inc. v. Flowers, 408 F.3d
  19   1113, 1126 (9th Cir. 2005) (“requiring nominal bonds is perfectly proper in public
  20   interest litigation”).
  21
       E.     The Court Should Advance The Merits Hearing And Consolidate It With
  22          The Preliminary Injunction Pursuant to FRCP 65(a)(2).
  23          Plaintiffs request that the Court advance the trial on the merits and consolidate
  24   it with the preliminary injunction hearing. Fed. R. Civ. P. 65(a)(2). An expedited
  25   merits hearing is appropriate because Plaintiffs’ challenge raises only issues of law
  26   such that discovery and additional factual development is unnecessary. See
  27   Slidewaters LLC v. Wash. State Dep’t of Lab. & Indus., 4 F.4th 747, 760 (9th Cir.
  28   2021).
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   1                                      IV. CONCLUSION
   2         For the reasons set forth above, the Court should, before January 1, 2023,
   3   consolidate the preliminary injunction hearing with the trial on the merits under Fed.
   4   R. Civ. P. 65(a)(2) and issue an order declaring unconstitutional and restraining
   5   Defendants from enforcing California Code of Civil Procedure section 1021.11.
   6
       Dated: October 7, 2022                      BENBROOK LAW GROUP, PC
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   8
                                                   By s/ Bradley A. Benbrook
   9                                                 BRADLEY A. BENBROOK
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